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                              United States District Court
                              Northern District of Texas
                                 Fort Worth Division

   Amos Joseph Wells, III,
     petitioner
   v.                                                        No. 4:21-CV-1384-O
   Bobby Lumpkin, Director, Texas
   Department of Criminal Justice,
   Correctional Institutions Division,
      respondent


                                Motion to Withdraw

  To the Honorable Reed O’Connor:

  Defense counsel Georgette Oden and Leigh W. Davis move this Court to al-

  low them to withdraw from this representation for three reasons. First,

  Wells has secured new counsel of his choice. Second, these new counsel ap-

  pear to be well-qualified. Third, Wells does not want Oden and Davis as his

  counsel.

        First, Wells has secured new counsel of his choice. Mr. Kutcher notified

  Davis by telephone that Wells had retained them on July 26th. New counsel,

  including local counsel, have entered an appearance in this case and sought

  to appear pro hac vice. The Sixth Amendment right to counsel of the defen-

  dant’s choosing extends to death penalty cases. See Newton v. Dretke, 371

  F.3d 250, 255 (5th Cir. 2004) (citing United States v. Hughey, 147 F.3d 423,

  429 (5th Cir. 1998)). While the right is not absolute, “what is required is

  that the defendant be given a fair or reasonable opportunity to obtain par-

  ticular counsel.” Id. (citing United States v. Paternostro, 966 F.2d 907, 912



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  (5th Cir. 1992)). Restrictions on the right to counsel of choice typically

  manifest as denials of continuances when new counsel enters the case very

  late and needs additional time to prepare. See Ungar v. Sarafite, 376 U.S.

  575, 590–91, 84 S.Ct. 841, 11 L.Ed.2d 921 (1964). Here, that’s not a con-

  cern. AEDPA sets a firm 1-year deadline for the filing of a section 2254 mo-

  tion. That date is readily ascertainable and not generally extendable. Thus,

  a continuance (or more correctly, the equitable tolling of the statute of limi-

  tations) shouldn’t be an issue here. Wells has secured counsel of his choice

  and those counsel have appeared or sought to appear. Wells should be al-

  lowed to have them.

     Second, these new counsel appear to be well-qualified. Davis has known

  Bill Harris for about 20 years. More to the relevant point, Davis knows him

  to be a highly experienced death penalty practitioner. He has experience

  handling federal death penalty litigation. See Moore v. Quarterman, 517 F.

  3d 781 (5th Cir. 2008), Robison v. Johnson, 151 F.3d 256 (5th Cir. 1998),

  and Newbury v. Stephens, 756 F.3d 850 (5th Cir. 2014). Matthew Kutcher

  appears to be well-credentialed and experienced. See https://www.cooley.-

  com/people/matthew-kutcher (firm biography) (last visited August 3, 2022).

  According to his LinkedIn biography, Mr. Kutcher has done time at Cra-

  vath, Swaine, and Moore; Latham & Watkins; and the Chicago U.S. Attor-

  ney’s oﬃce. See https://www.linkedin.com/in/matthew-kutcher-a772389/

  (last visited August 3, 2022). Ms. Beckley also appears to be well-creden-

  tialed and experienced. See https://www.cooley.com/people/shamis-beckley

  (firm biography) (last visited August 3, 2022).



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     Third, Wells does not want Oden and Davis as his counsel. Wells has

  never wanted Oden and Davis. He first wanted Gwendolyn C. Payton and

  Adam H. Charnes who were initially proposed by the Oﬃce of Capital and

  Forensic Writs and later by Wells himself. Wells even sought to terminate

  Oden and Davis before secure new counsel. Now, he has secured the repre-

  sentation of Mr. Kutcher and others. More importantly, he’s declined to co-

  operate with Oden and Davis. An example of this is the release Davis asked

  Wells to sign. Trial counsel indicated that they required a release from Wells

  to speak with writ counsel. Davis provided a release to Wells three times.

  Though prior counsels’ files show that Wells signed numerous releases for

  his previous attorneys, Wells never signed and returned the release to Davis.

  However, Wells retyped the release form provided by Davis, changed the

  names where appropriate, signed it, and sent it to Mr. Kutcher. Obviously,

  Oden and Davis will represent Wells to the best of their abilities, but that is

  made more complicated by Wells’s lack of cooperation. And this is but one

  example.

     In sum, Wells has the right to counsel of his choice, those counsel have

  appeared or are seeking to appear for him, they are experienced and quali-

  fied, and Wells clearly does not want his current counsel. Therefore, Oden

  and Davis move this Court to allow them to withdraw.




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                                            Respectfully submitted,

                                            s/ Georgette Oden

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                                            /s/ Leigh W. Davis_____________
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                                Certificate of Service

  The Court’s ECF system has served this filing on all attorneys of record. A

  paper copy has been mailed by first class and certified mail to Amos Wells.


  /s/ Leigh W. Davis_________________
  (Mr.) Leigh W. Davis




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